Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 1 of 34 PageID 10387




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

  PILOT, United States Coast Guard, et al.,
                           Plaintiffs,
        v.                                       Case No. 8:22-cv-1278 (SDM/TGW)
  LLOYD AUSTIN, in his official capacity as
  Secretary of the United States Department of
  Defense, et al.,
                           Defendants.

    DEFENDANTS’ MOTION TO DISMISS THIRD AMENDED COMPLAINT
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 2 of 34 PageID 10388




                                                TABLE OF CONTENTS

  BACKGROUND.......................................................................................... 2

      I.          The Coast Guard’s Implementation of the COVID-19 Vaccination
                  Directive ........................................................................................ 2

      II.         Other Litigation Regarding the Military’s Vaccination Requirement......... 5

      III.        This Action..................................................................................... 6

  LEGAL STANDARDS ................................................................................. 8

  ARGUMENT .............................................................................................. 9

      I.          The Court should dismiss Plaintiffs’ claim under 21 U.S.C. § 360bbb-3
                  and 10 U.S.C. §§ 1107, 1107a (Count I). .............................................. 9

             A.       Plaintiffs’ claim under 21 U.S.C. § 360bbb-3 and 10 U.S.C. §§ 1107,
                      1107a are moot. .......................................................................... 9

             B.       Neither 21 U.S.C. § 360bbb-3 nor 10 U.S.C. §§ 1107, 1107a waive
                      the United States’ sovereign immunity or provide Plaintiffs with a
                      private right of action. ................................................................ 11

             C.       Plaintiffs have not plausibly alleged a violation of 21 U.S.C. §
                      360bbb-3 or 10 U.S.C. §§ 1107, 1107a. .......................................... 13

             D.       The Court lacks jurisdiction over a challenge to the emergency
                      declaration or EUA. .................................................................. 15

      II.         Plaintiffs’ RFRA and First Amendment Claims Are Not Ripe or
                  Administratively Exhausted (Counts II and III). ................................. 16

      III.        Venue and Joinder of Plaintiffs’ Claims Is Improper. ........................... 21

  CONCLUSION.......................................................................................... 23




                                                            i
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 3 of 34 PageID 10389




                                         TABLE OF AUTHORITIES

  CASES

  Abbott v. Biden,
    --- F. Supp. 3d ---, 2022 WL 2287547 (E.D. Tex. June 24, 2022), appeal filed,
    No. 22-40399 (5th Cir. June 29, 2022)............................................................ 5

  Action All. of Senior Citizens v. Heckler,
    789 F.2d 931 (D.C. Cir. 1986) .................................................................... 16

  Air Force Off. v. Austin,
    --- F. Supp. 3d ---, 2022 WL 468799 (M.D. Ga. Feb. 15, 2022) ........................... 5

  Aktepe v. United States,
    105 F.3d 1400 (11th Cir. 1997) ..................................................................... 9

  Alexander v. Sandoval,
    532 U.S. 275 (2001) .................................................................................. 11

  Already, LLC v. Nike, Inc.,
    568 U.S. 85 (2013) .................................................................................... 10

  Ashcroft v. Iqbal,
    556 U.S. 662 (2009) ................................................................................ 8, 9

  Ass’n of Am. Physicians & Surgeons v. U.S. Food & Drug Admin.,
    No. 20-1784, 2020 WL 5745974 (6th Cir. Sept. 24, 2020)........................... 13, 15

  Austin v. U.S. Navy SEALs 1–26,
    142 S. Ct. 1301 (2022) ............................................................................ 6, 20

  Bailey v. Johnson,
    48 F.3d 965 (6th Cir. 1995) ........................................................................ 12

  Barber v. Am.’s Wholesale Lender,
    289 F.R.D. 364 (M.D. Fla. 2013) ................................................................ 22

  Bishop v. Reno,
    210 F.3d 1295 (11th Cir. 2000) ..................................................................... 8




                                                       ii
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 4 of 34 PageID 10390




  Bridges v. Hous. Methodist Hosp.,
    543 F. Supp. 3d 525 (S.D. Tex. 2021), aff’d, 2022 WL 2116213 (5th Cir.
    June 13, 2022).......................................................................................... 12

  Cheffer v. Reno,
    55 F.3d 1517 (11th Cir. 1995) ..................................................................... 16

  Church v. Biden,
    573 F. Supp. 3d 118 (D.D.C. 2021) .......................................................... 5, 19

  Coal. for Mercury-Free Drugs v. Sebelius,
    671 F.3d 1275 (D.C. Cir. 2012)................................................................... 10

  Corbett v. Transp. Sec. Admin.,
    930 F.3d 1225 (11th Cir. 2019) ................................................................ 8, 15

  Creaghan v. Austin,
    --- F. Supp. 3d ---, 2022 WL 1500544 (D.D.C. May 12, 2022), appeal filed,
    No. 22-5135 (D.C. Cir. May 20, 2022) ........................................................... 5

  Dep’t of Navy v. Egan,
   484 U.S. 518 (1988) .................................................................................. 20

  Digital Props., Inc. v. City of Plantation,
    121 F.3d 586 (11th Cir. 1997) ................................................................ 16, 19

  Doe #1-#14 v. Austin,
   572 F. Supp. 3d 1224 (N.D. Fla. 2021)........................................................... 5

  Doe v. Ball,
   725 F. Supp. 1210 (M.D. Fla. 1989), aff’d sub nom. Doe v. Garrett, 903 F.2d
   1455 (11th Cir. 1990) ................................................................................ 20

  Doe v. Franklin Square Union Free Sch. Dist.,
   568 F. Supp. 3d 270 (E.D.N.Y. 2021), appeal withdrawn, 2022 WL 1316221
   (2d Cir. Mar.17, 2022)............................................................................... 12

  Doe v. Rumsfeld,
   297 F. Supp. 2d 119 (D.D.C. 2003) ............................................................. 13

  Donohue v. Hochul,
   No. 21-CV-8463, 2022 WL 673636 (S.D.N.Y. Mar. 7, 2022), appeal filed,
   No. 22-517 (2d Cir. Mar. 11, 2022).............................................................. 12

                                                       iii
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 5 of 34 PageID 10391




  Doster v. Kendall,
   --- F. Supp. 3d ---, 2022 WL 982299 (S.D. Ohio Mar. 31, 2022)...................... 5, 6

  Doster v. Kendall,
   No. 1:22-cv-84, 2022 WL 2974733 (S.D. Ohio July 27, 2022) ............................ 6

  Dunn v. Austin,
   142 S. Ct. 1707 (2022) ................................................................................. 5

  Ethredge v. Hail,
    56 F.3d 1324 (11th Cir. 1995) ....................................................................... 9

  Fed. Deposit Ins. Corp. v. Meyer,
    510 U.S. 471 (1994) .................................................................................. 11

  Fed. Trade Comm’n v. On Point Cap. Partners LLC,
    17 F.4th 1066 (11th Cir. 2021) .................................................................... 10

  Frame v. United States,
    No. 4:09-CV-458, 2010 WL 883804 (N.D. Fla. Mar. 5, 2010) .......................... 19

  Gardner v. Mutz,
   962 F.3d 1329 (11th Cir. 2020) ................................................................... 20

  Garfield v. Middle Tenn. State Univ.,
   No. 3:21-cv-00613, 2021 WL 5770877 (M.D. Tenn. Dec. 6, 2021) ................... 12

  Gilligan v. Morgan,
    413 U.S. 1 (1973)................................................................................... 9, 20

  Goldman v. Weinberger,
   475 U.S. 503 (1986) .................................................................................... 9

  Guettlein v. U.S. Merch. Marine Acad.,
   577 F. Supp. 3d 96 (E.D.N.Y. 2021) .............................................................. 5

  Guilfoyle v. Beutner,
   No. 2:21-cv-05009, 2021 WL 4594780 (C.D. Cal. Sept. 14, 2021)..................... 12

  Hodges v. Callaway,
   499 F.2d 417 (5th Cir. 1974).................................................................. 17, 20




                                                      iv
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 6 of 34 PageID 10392




  Honig v. Students of Cal. Sch. for the Blind,
   471 U.S. 148 (1985) .................................................................................. 11

  Johnson v. Brown,
    567 F. Supp. 3d 1230 (D. Or. 2021) ............................................................. 14

  Knick v. Austin,
   No. 22-1267, 2022 WL 2157066 (D.D.C. June 15, 2022) ............................. 5, 18

  Langston v. Tex. Cap. Bank, Nat’l Ass’n,
    No. 8:20-cv-2954, 2021 WL 698171 (M.D. Fla. Feb. 23, 2021) .......................... 8

  Leicht v. McHugh,
    No. 13-60015, 2013 WL 11971266 (S.D. Fla. May 24, 2013) ........................... 17

  Lindenau v. Alexander,
    663 F.2d 68 (10th Cir. 1981)......................................................................... 9

  Loreto v. Proctor & Gamble Co.,
    515 F. App’x 576 (6th Cir. 2013) ................................................................. 12

  Love v. Delta Air Lines,
    310 F.3d 1347 (11th Cir. 2002) ................................................................... 11

  Mark Short v. Berger,
   No. 22-cv-1151, 2022 WL 1051852 (C.D. Cal. Mar. 3, 2022), appeal dismissed,
   2022 WL 2421096 (9th Cir. May 17, 2022) ................................................ 5, 18

  Mazares v. Dep’t of Navy,
   302 F.3d 1382 (Fed. Cir. 2002) ..................................................................... 9

  Miller v. Austin,
   --- F. Supp. 3d ---, 2022 WL 3584666 (D. Wyo. Aug. 22, 2022) .......................... 5

  Mindes v. Seaman,
   453 F.2d 197 (5th Cir. 1971)....................................................................... 17

  Navy SEAL 1 v. Austin,
   --- F. Supp. 3d ----, 2022 WL 1294486 (D.D.C. Apr. 29, 2022), appeal filed,
   No. 22-5114 (D.C. Cir. May 5, 2022)........................................................ 5, 20

  Navy SEAL 1 v. Biden,
   574 F. Supp. 3d 1124 (M.D. Fla. 2021) ......................................... 12, 14, 15, 19


                                                      v
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 7 of 34 PageID 10393




  Navy SEAL 1 v. Biden,
   No. 8:21-cv-2429, 2022 WL 483832 (M.D. Fla. Feb. 2, 2022) ............................ 5

  Neitzke v. Williams,
   490 U.S. 319 (1989) .................................................................................... 8

  Norris v. Stanley,
   558 F. Supp. 3d 556 (W.D. Mich. 2021) ....................................................... 10

  Oklahoma v. Biden,
    577 F. Supp. 3d 1245 (W.D. Okla. 2021)........................................................ 5

  Orloff v. Willoughby,
    345 U.S. 83 (1953) .................................................................................... 20

  Overton Power Dist. No 5 v. O’Leary,
    73 F.3d 253 (9th Cir. 1996) ........................................................................ 12

  PDK Labs, Inc. v. Friedlander,
   103 F.3d 1105 (2d Cir. 1997) ...................................................................... 12

  Poffenbarger v. Kendall,
    --- F. Supp. 3d ----, 2022 WL 594810 (S.D. Ohio Feb. 28, 2022), appeal dismissed,
    2022 WL 3029325 (6th Cir. June 30, 2022) ..................................................... 5

  Prison Legal News v. FBI,
    944 F.3d 868 (10th Cir. 2019) ..................................................................... 11

  Rau v. Moats,
   772 F. App’x 814 (11th Cir. 2019) ............................................................... 11

  Robert v. Austin,
    No. 21-cv-2228, 2022 WL 103374 (D. Colo. Jan. 11, 2022), appeal filed,
    No. 22-1032 (10th Cir. Feb. 2, 2022).............................................................. 5

  Roberts v. Roth,
    --- F. Supp. 3d ---, 2022 WL 834148 (D.D.C. Mar. 21, 2022) ........................ 4, 18

  Rostker v. Goldberg,
    453 U.S. 57 (1981) ...................................................................................... 9




                                                       vi
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 8 of 34 PageID 10394




  Roth v. Austin,
    --- F. Supp. 3d ---, 2022 WL 1568830 (D. Neb. May 18, 2022), appeal filed,
    No. 22-2058 (8th Cir. May 20, 2022) ............................................................. 5

  Schlesinger v. Councilman,
    420 U.S. 738 (1975) .................................................................................. 19

  Smith v. Dalton,
   927 F. Supp. 1 (D.D.C. 1996) ..................................................................... 21

  Soliman v. United States ex rel. INS,
    296 F.3d 1237 (11th Cir. 2002) ................................................................... 11

  Solorio v. United States,
    483 U.S. 435 (1987) .................................................................................... 9

  Thomas Short v. Berger,
   --- F. Supp. 3d ---, 2022 WL 1203876 (D. Ariz. Apr. 22, 2022), appeal filed,
    No. 22-15755 (9th Cir. May 18, 2022).................................................. 5, 19, 20

  Torres v. Bank of Am., N.A.,
    No. 8:17-cv-1534, 2017 WL 10398671 (M.D. Fla. Oct. 6, 2017) ....................... 22

  Troiano v. Supervisor of Elections in Palm Beach Cnty.,
    382 F.3d 1276 (11th Cir. 2004) ................................................................... 10

  U.S. Navy SEALs 1–26 v. Biden,
    578 F. Supp. 3d 822 (N.D. Tex. 2022) ........................................................... 5

  U.S. Navy SEALs 1–26 v. Austin,
    --- F. Supp. 3d ---, 2022 WL 1025144 (N.D. Tex. Mar. 28, 2022), appeal filed,
    No. 22-10534 (5th Cir. May 31, 2022)............................................................ 6

  Valdez v. Grisham,
   559 F. Supp. 3d 1161 (D.N.M. 2021), aff’d, 2022 WL 2129071 (10th Cir. June
    14, 2022) ................................................................................................. 14

  Vance v. Wormuth,
   No. 3:21-cv-730, 2022 WL 1094665 (W.D. Ky. Apr. 12, 2022) ..................... 5, 19

  Vince v. Mabus,
    956 F. Supp. 2d 83 (D.D.C. 2013) ............................................................... 21



                                                        vii
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 9 of 34 PageID 10395




  Von Hoffburg v. Alexander,
    615 F.2d 633 (5th Cir. 1980).................................................................. 17, 20

  Walters v. BMW of N. Am.,
   No. 8:18-cv-02875, 2019 WL 6251366 (M.D. Fla. Nov. 22, 2019) .................... 22

  Webster v. Mattis,
   279 F. Supp. 3d 14 (D.D.C. 2017) ............................................................... 21

  Wigand v. W. City Partners, Inc.,
   No. 07-61492, 2008 WL 384394 (S.D. Fla. Feb. 11, 2008)............................... 22

  Winck v. England,
   327 F.3d 1296 (11th Cir. 2003), abrogated on other grounds as recognized in
   Santiago-Lugo v. Warden, 785 F.3d 467 (11th Cir. 2015) ......................... 16, 17, 20

  Zelaya v. United States,
    781 F.3d 1315 (11th Cir. 2015) ................................................................... 11

  STATUTES

  5 U.S.C. § 701................................................................................... 12, 13, 15

  10 U.S.C. § 113 ........................................................................................... 13

  10 U.S.C. § 1071 ......................................................................................... 12

  10 U.S.C. § 1107 .................................................................................... passim

  10 U.S.C. § 1107a................................................................................... passim

  10 U.S.C. § 7013 ......................................................................................... 13

  10 U.S.C. § 8013 ......................................................................................... 13

  10 U.S.C. § 9013 ......................................................................................... 13

  21 U.S.C. § 337 ........................................................................................... 12

  21 U.S.C. § 355 ........................................................................................... 13

  21 U.S.C. § 360bbb-3 .............................................................................. passim

  28 U.S.C. § 1391 ......................................................................................... 21

                                                      viii
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 10 of 34 PageID 10396




   42 U.S.C. § 2000bb-1 ..................................................................................... 7

   National Defense Authorization Act For Fiscal Year 2022,
    Pub. L. No. 117-81, 135 Stat. 1541 (2021) ...................................................... 4

   RULES

   Fed. R. Civ. P. 12 .......................................................................................... 8

   REGULATIONS

   Determination of Public Health Emergency,
    85 Fed. Reg. 7316 (Feb. 7, 2020). ................................................................ 16

   Emergency Use Authorization Declaration,
    85 Fed. Reg. 18,250 (Apr. 1, 2020) .............................................................. 16

   OTHER AUTHORITIES

   14D Charles Alan Wright & Arthur R. Miller, Fed. Prac. & Proc. § 3815
     (4th ed. 2022)........................................................................................... 21

   CG COMDTINST M1000.4, Military Separations (Aug. 2018), Art. 1.B.36.h,
    https://perma.cc/PQW4-K38G ................................................................... 4

   CG COMDTINST M6230.4G, Immunizations and Chemoprophylaxis for the
    Prevention of Infectious Diseases (Feb. 16, 2018),
    https://perma.cc/82YE-EA3U .................................................................... 3

   FDA, COVID-19 Vaccines (Oct. 29, 2021),
    https://perma.cc/5FWS-RJ5L ................................................................... 16

   Sec’y of Def. Mem. (Aug. 9, 2021),
     https://perma.cc/S4R3-2VZW .................................................................. 10

   Sec’y of Def. Mem. (Aug. 24, 2021),
     https://perma.cc/N759-S758 ..................................................................... 13




                                                         ix
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 11 of 34 PageID 10397




          In their Third Amended Complaint, six Plaintiffs in the United States Coast

   Guard claim that the Department of Defense’s (“DoD”) COVID-19 vaccination

   directive violates the Federal Food, Drug, and Cosmetics Act (“FDCA”), 21 U.S.C.

   § 360bbb-3, and 10 U.S.C. §§ 1107 and 1107a, and additionally raise religious

   objections to the vaccination directive. Plaintiffs’ claims should be dismissed.

          First, Plaintiffs’ claim that DoD’s directive violates § 360bbb-3 and §§ 1107 and

   1107a because it requires service members to take a COVID-19 vaccine authorized

   only for emergency use fails for several reasons. As an initial matter, this claim is moot:

   the FDA-approved Comirnaty vaccine is now available in the United States and has

   been offered to each Plaintiff. Additionally, the statutory provisions that Plaintiffs

   invoke do not waive the United States’ sovereign immunity nor do they provide a

   private right of action. And aside from these threshold defects, Plaintiffs have not

   stated a plausible claim because DoD’s COVID-19 vaccination requirement does not

   implicate § 360bbb-3 or §§ 1107, 1107a; rather, DoD requires service members to

   receive only COVID-19 vaccines that have received full licensing approval, and those

   statutory provisions impose certain notice requirements applicable to products

   authorized only under an EUA.

          Second, Plaintiffs’ claims under the Religious Freedom Restoration Act

   (“RFRA”) and the First Amendment should also be dismissed because they are not

   ripe and have not been administratively exhausted. Plaintiffs acknowledge that they

   face only potential separation as a consequence for failing to vaccinate and that they

   have not in fact suffered any such separation as a cognizable injury. Because significant
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 12 of 34 PageID 10398




   additional military procedures remain for those Plaintiffs to contest separation, their

   RFRA and First Amendment claims are not suited for judicial review at this point, as

   numerous courts across the country have concluded.

         Finally, venue and joinder of all Plaintiffs is not proper. Although four Plaintiffs

   claim domicile in this district, their participation does not justify joinder of the

   remaining two who claim no connection to this district. Rather, as another court in

   this district concluded under similar circumstances, the necessary individualized

   resolution of the claims Plaintiffs assert requires a separate analysis, different proof,

   and different witnesses located across the country. Thus, to the extent the Court does

   not dismiss all the claims for the reasons discussed in greater detail below, it should

   sever and dismiss without prejudice the claims of Plaintiffs who do not reside in the

   Middle District of Florida.

                                     BACKGROUND

         In prior briefing in this matter, Defendants provided background regarding the

   COVID-19 pandemic, the Food and Drug Administration’s (“FDA”) regulation of

   and guidance concerning COVID-19 vaccines, and DoD’s COVID-19 vaccination

   directive. Defendants respectfully refer the Court to that pertinent background. See

   ECF No. 23 at 2–6.

   I.    The Coast Guard’s Implementation of the COVID-19 Vaccination Directive

         Shortly after the Secretary of Defense issued his COVID-19 vaccine directive,

   the Coast Guard issued its initial implementing guidance, directing all active-duty and

   Ready Reserve members to become fully vaccinated against COVID-19 and including

                                              2
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 13 of 34 PageID 10399




   processes for seeking exemptions. See Decl. of Rear Admiral Eric C. Jones ¶ 4; CG

   COMDTINST M6230.4G, Immunizations and Chemoprophylaxis for the Prevention of

   Infectious Diseases (Feb. 16, 2018), ch. 2-6, https://perma.cc/82YE-EA3U; see generally

   Decl. of Lieutenant Commander Joel A. Aber (describing reasons supporting Coast

   Guard’s vaccination directives).

         Exemptions. As with other vaccination requirements, Coast Guard guidance

   establishes processes for granting medical, administrative, and religious exemptions

   from its COVID-19 vaccination requirement. Service members are not required to

   receive a COVID-19 vaccine if they have been granted an exemption or have an

   exemption request or appeal pending. Jones Decl. ¶ 44. Service members may be

   granted a medical exemption if, for example, they currently have COVID-19, are

   pregnant, or are allergic to an ingredient in the vaccine. Id. ¶¶ 14, 17. Service members

   who are retiring or separating from military service no later than October 1, 2022, may

   be granted an administrative exemption. Id. ¶ 20. Service members also may seek a

   religious accommodation by submitting a written request to the appropriate approval

   authority. Id. ¶ 21. Religious accommodation requests (or “RARs”) undergo a multi-

   stage review process before the approval authority makes a final decision whether to

   approve or deny the request. Id. ¶¶ 22–34. If a request is denied, the service member

   may appeal to the Coast Guard’s final appellate authority, who renders a final decision

   on the RAR. Id. ¶ 35.

         Refusal to vaccinate. If an exemption request is ultimately disapproved and the

   service member refuses to comply with his or her command’s order to receive the

                                              3
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 14 of 34 PageID 10400




   COVID-19 vaccine, commanders may take a variety of administrative and disciplinary

   actions. Id. ¶¶ 38–39. Active-duty service members who refuse to comply with the

   COVID-19 vaccination requirement, absent an exemption, will be subject to initiation

   of administrative discharge proceedings. Id. ¶ 39. The administrative discharge process

   and may result in the service member being retained, and the length of the process

   varies dependent on several factors including status, e.g., for the three officer plaintiffs,

   the process would take at least six to nine months. Id. ¶ 42. The decision to discharge

   a service member is not final until the final discharge order is issued—until that point,

   the separation authority is not required to follow any discharge recommendation. See

   Roberts v. Roth, --- F. Supp. 3d ---, 2022 WL 834148, at *4 (D.D.C. Mar. 21, 2022). In

   addition, under the National Defense Authorization Act for Fiscal Year 2022—and

   absent other misconduct—a service member who is discharged for refusing to receive

   the COVID-19 vaccine will receive either an Honorable Discharge or Under

   Honorable Conditions (General) Discharge. Pub. L. No. 117-81 § 736(a), 135 Stat.

   1541, 1800 (2021).

          Even if a service member is discharged at the conclusion of the administrative

   proceedings, further military remedies remain available to them. The member may, for

   instance, appeal the characterization of his discharge to a Discharge Review Board,

   which has the authority to review administrative discharges. CG COMDTINST

   M1000.4, Military Separations (Aug. 2018), Art. 1.B.36.h, https://perma.cc/PQW4-

   K38G. The member may also request correction of his military record through the

   Board for Correction of Military Records. Id.

                                                4
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 15 of 34 PageID 10401




   II.    Other Litigation Regarding the Military’s Vaccination Requirement

          In addition to this case, there have been numerous other challenges to the

   military’s vaccination requirement brought in district courts across the country. At

   least fifteen other courts have either rejected similar arguments for preliminary

   injunctive relief against the military or dismissed the service members’ claims entirely,

   including this Court. 1 Moreover, in Dunn, where the district court denied the

   preliminary-injunction motion, the Supreme Court denied the member’s application

   for an injunction pending appeal. Dunn v. Austin, 142 S. Ct. 1707 (2022).

          Six courts, including this one, have preliminarily enjoined DoD and the

   respective service from applying COVID-19 vaccination requirements or taking

   adverse action against plaintiffs in those cases. 2 The government respectfully disagrees



          1
              See Miller v. Austin, --- F. Supp. 3d ---, 2022 WL 3584666 (D. Wyo. Aug. 22, 2022); Knick v.
   Austin, No. 22-1267, 2022 WL 2157066 (D.D.C. June 15, 2022); Robert v. Austin, No. 21-cv-2228, 2022
   WL 103374 (D. Colo. Jan. 11, 2022), appeal filed, No. 22-1032 (10th Cir. Feb. 2, 2022); Church v. Biden,
   573 F. Supp. 3d 118 (D.D.C. 2021); Navy SEAL 1 v. Austin, --- F. Supp. 3d ----, 2022 WL 1294486
   (D.D.C. Apr. 29, 2022), appeal filed, No. 22-5114 (D.C. Cir. May 5, 2022); Creaghan v. Austin, --- F.
   Supp. 3d ---, 2022 WL 1500544 (D.D.C. May 12, 2022), appeal filed, No. 22-5135 (D.C. Cir. May 20,
   2022); Thomas Short v. Berger, --- F. Supp. 3d ---, 2022 WL 1203876 (D. Ariz. Apr. 22, 2022), appeal
   filed, No. 22-15755 (9th Cir. May 18, 2022); Vance v. Wormuth, No. 3:21-cv-730, 2022 WL 1094665
   (W.D. Ky. Apr. 12, 2022); Mark Short v. Berger, No. 22-cv-1151, 2022 WL 1051852 (C.D. Cal. Mar.
   3, 2022), appeal dismissed, 2022 WL 2421096 (9th Cir. May 17, 2022); Roth v. Austin, --- F. Supp. 3d --
   -, 2022 WL 1568830 (D. Neb. May 18, 2022), appeal filed, No. 22-2058 (8th Cir. May 20, 2022); Dunn
   v. Austin, No. 2:22-cv-288, ECF No. 16 (E.D. Cal. Feb. 22, 2022); Doe #1-#14 v. Austin, 572 F. Supp.
   3d 1224 (N.D. Fla. 2021); Abbott v. Biden, --- F. Supp. 3d ---, 2022 WL 2287547 (E.D. Tex. June 24,
   2022), appeal filed, No. 22-40399 (5th Cir. June 29, 2022); Oklahoma v. Biden, 577 F. Supp. 3d 1245
   (W.D. Okla. 2021); Guettlein v. U.S. Merch. Marine Acad., 577 F. Supp. 3d 96 (E.D.N.Y. 2021).
            2
              See Navy SEAL 1 v. Biden, No. 8:21-cv-2429, 2022 WL 483832 (M.D. Fla. Feb. 2, 2022);
   Order, Col. Fin. Mgmt. Off. v. Austin, No. 8:22-cv-01275, ECF No. 229 (M.D. Fla. Aug. 18, 2022)
   (enjoining the Marine Corps after separating the case from Navy SEAL 1 and creating a new case
   number); U.S. Navy SEALs 1–26 v. Biden, 578 F. Supp. 3d 822 (N.D. Tex. 2022); Air Force Off. v. Austin,
   --- F. Supp. 3d ---, 2022 WL 468799 (M.D. Ga. Feb. 15, 2022); Poffenbarger v. Kendall, --- F. Supp. 3d -
   ---, 2022 WL 594810 (S.D. Ohio Feb. 28, 2022), appeal dismissed, 2022 WL 3029325 (6th Cir. June 30,
   2022); Doster v. Kendall, --- F. Supp. 3d ---, 2022 WL 982299 (S.D. Ohio Mar. 31, 2022).

                                                      5
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 16 of 34 PageID 10402




   with those decisions and has taken an appeal from four of them, including two of this

   Court’s injunctions. 3 In Austin v. U.S. Navy SEALs 1–26, the Supreme Court granted

   the government’s application for a partial stay of the district court’s injunction. 142 S.

   Ct. 1301, 1301 (2022). Similarly, in Navy SEAL 1, the Eleventh Circuit stayed the

   district court’s injunction pending appeal “insofar as it precludes the Navy from

   considering the plaintiffs’ vaccination status in making deployment, assignment, and

   other operational decisions.” Order at 3, Navy SEAL 1 v. Sec’y of the U.S. Dep’t of Def.,

   No. 22-10645 (11th Cir. Mar. 30, 2022).

   III.   This Action

          In October 2021, a group of military service members, federal employees, and

   federal contractors filed this lawsuit to challenge three separate federal COVID-19

   vaccination requirements. 4 Several months later, after the pleadings were amended, 5

   the Court severed the claims of the civilian plaintiffs from those of the service member

   plaintiffs and ordered that a new pleading be filed “on behalf of the service members

   only.” 6 Soon thereafter, 32 members serving across the Armed Services filed a second

   amended complaint, 7 collectively asserting claims that the Court later severed


          3
              The district courts in Navy SEALs 1-26 and Doster subsequently entered class-wide preliminary
   injunctions against the Navy and the Air Force, respectively, which the government has also appealed.
   U.S. Navy SEALs 1–26 v. Austin, --- F. Supp. 3d ---, 2022 WL 1025144, at *9 (N.D. Tex. Mar. 28, 2022),
   appeal filed, No. 22-10534 (5th Cir. May 31, 2022); Doster v. Kendall, No. 1:22-cv-84, 2022 WL 2974733
   (S.D. Ohio July 27, 2022), appeal filed, No. 22-3702 (6th Cir. Aug. 15, 2022).
            4
              Verified Class Action Compl. for Prelim & Perm. Inj. Relief & Decl. Relief, ECF No. 1.
            5
              First Am. Verified Class Action Compl. for Prelim & Perm. Inj. Relief & Decl. Relief, ECF
   No. 75.
            6
              See Order, ECF No. 89.
            7
              See Second Am. Verified Class Action Compl. for Prelim & Perm. Inj. Relief, Decl. Relief,
   & Damages, ECF No. 105.

                                                      6
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 17 of 34 PageID 10403




   according to military service. 8 The Court then ordered this action, which it deemed

   “The Coast Guard Action,” stayed “pending an amendment of the complaint to

   present a ripe claim for relief by a service member in the Coast Guard for whom venue

   is proper” in the Middle District of Florida. 9

          On August 5, 2022, Plaintiffs—six members of the Coast Guard—filed the third

   amended complaint (referred hereafter as simply the “complaint”) on behalf of

   themselves and a putative class of “military servicemembers who have been denied

   religious exemption” from the military’s COVID-19 vaccination requirement. 10 See

   Third Am. Verified Class Action Compl. for Prelim. & Perm. Inj. Relief, Decl. Relief,

   and Damages (“Compl.”) ¶¶ 24–29, 139–48, ECF No. 198. They allege that DoD’s

   vaccination directive violates (i) 21 U.S.C. § 360bbb-3, “as applied by 10 U.S.C.

   §§ 1107 and 1107a,” id. ¶¶ 149–175; (2) the First Amendment’s Free Exercise Clause,

   id. ¶¶ 176–193; and (3) RFRA, 42 U.S.C. § 2000bb-1, id. ¶¶ 194–216. Plaintiffs seek

   both declaratory and injunctive relief against the Coast Guard, including a permanent

   injunction (i) preventing the implementation of DoD’s vaccination directive, (ii)

   requiring that all religious exemption requests be granted, and (iii) barring the Coast

   Guard from taking any adverse action or discipline against service members for failing

   to vaccinate against COVID-19. Id., Prayer for Relief at 72-75.



          8
            See Order, ECF No. 194.
          9
            See id. at 10.
          10
             Despite this action being limited to the Coast Guard, the Third Amended Complaint
   continues to contain allegations pertaining to federal employees and federal contractors. See, e.g.,
   Compl. ¶¶ 22, 38–41, 46, 86–87, 116, 170. Given the Court’s prior rulings regarding those plaintiffs,
   Defendants do not address those allegations here.

                                                    7
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 18 of 34 PageID 10404




                                     LEGAL STANDARDS

          Defendants move to dismiss this case under Federal Rule of Civil Procedure

   12(b)(1) for lack of subject-matter jurisdiction, and under Federal Rule of Civil

   Procedure 12(b)(6) for failure to state a claim upon which this Court can grant relief.

          Rule 12(b)(1). “‘Federal courts are courts of limited jurisdiction’ and ‘possess

   only that power authorized by Constitution and statute.’” Bishop v. Reno, 210 F.3d

   1295, 1298 (11th Cir. 2000) (citation omitted). Where plaintiffs fail to demonstrate a

   court’s subject-matter jurisdiction, dismissal is appropriate pursuant to Federal Rule

   of Civil Procedure 12(b)(1). Langston v. Tex. Cap. Bank, Nat’l Ass’n, No. 8:20-cv-2954,

   2021 WL 698171, at *2 (M.D. Fla. Feb. 23, 2021). The Court may consider facts

   beyond the four corners of the pleading that are relevant to the question of subject

   matter jurisdiction. Corbett v. Transp. Sec. Admin., 930 F.3d 1225, 1228 (11th Cir. 2019),

   cert. denied, 140 S. Ct. 900 (2020).

          Rule 12(b)(6). “Rule 12(b)(6) authorizes a court to dismiss a claim on the basis of

   a dispositive issue of law.” Neitzke v. Williams, 490 U.S. 319, 326 (1989). A complaint

   is subject to dismissal if it fails to allege facts that state a plausible claim for relief rising

   above the speculative level. Fed. R. Civ. P. 12(b)(6); Ashcroft v. Iqbal, 556 U.S. 662, 678

   (2009). “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s

   liability, it ‘stops short of the line between possibility and plausibility of entitlement to

   relief.’” Iqbal, 556 U.S. at 678 (citation omitted). “[L]abels and conclusions,” “naked

   assertion[s] devoid of further factual enhancement,” and “a formulaic recitation of the



                                                   8
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 19 of 34 PageID 10405




   elements of a cause of action” are insufficient. Id. (citation omitted).

          Deference principles. Judicial review of claims involving the “complex subtle, and

   professional decisions as to the composition, training, equipping, and control of a

   military force” is highly constrained. Gilligan v. Morgan, 413 U.S. 1, 10 (1973); Rostker

   v. Goldberg, 453 U.S. 57, 66 (1981). The Executive branch is “accorded a particularly

   high degree of deference in the area of military affairs.” Aktepe v. United States, 105 F.3d

   1400, 1403 (11th Cir. 1997). Such deference extends to constitutional claims and

   military decisions about the health and welfare of the troops. See Solorio v. United States,

   483 U.S. 435, 448 (1987); Goldman v. Weinberger, 475 U.S. 503, 507 (1986); Ethredge v.

   Hail, 56 F.3d 1324, 1328 (11th Cir. 1995); Lindenau v. Alexander, 663 F.2d 68, 70–74

   (10th Cir. 1981); Mazares v. Dep’t of Navy, 302 F.3d 1382, 1385 (Fed. Cir. 2002).

                                        ARGUMENT

   I.     The Court should dismiss Plaintiffs’ claim under 21 U.S.C. § 360bbb-3 and
          10 U.S.C. §§ 1107, 1107a (Count I).

          Plaintiffs allege that DoD’s COVID-19 vaccination directive violates 21 U.S.C.

   § 360bbb-3, “as applied by 10 U.S.C. §§ 1107 and 1107a,” which impose certain notice

   requirements for products authorized for “emergency use.” See Compl. ¶¶ 149–75.

   This claim fails for several reasons, any one of which requires dismissal.

          A.     Plaintiffs’ claim under 21 U.S.C. § 360bbb-3 and 10 U.S.C. §§ 1107,
                 1107a are moot.

          Plaintiffs’ claim under 21 U.S.C. § 360bbb-3 and 10 U.S.C. §§ 1107, 1107a

   centers on the allegation that DoD is “mandating” that Plaintiffs receive a COVID-19

   vaccine “subject only to Emergency Use under the Emergency Use Authorization

                                                9
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 20 of 34 PageID 10406




   statute.” See Compl. ¶¶ 169–73. Setting aside the fact that DoD’s vaccination directive

   does not require service members to take a vaccine authorized only for emergency use,

   see Sec’y of Def. Mem. (Aug. 9, 2021), https://perma.cc/S4R3-2VZW (requiring only

   vaccines that have received full licensure from the FDA), this statutory claim is moot:

   Plaintiffs may comply with the vaccination requirement by receiving doses of

   Comirnaty, a BLA-approved COVID-19 vaccine that the Coast Guard has made

   available to each Plaintiff. See Troiano v. Supervisor of Elections in Palm Beach Cnty., 382

   F.3d 1276, 1281 (11th Cir. 2004) (“Article III courts lack jurisdiction to entertain [a

   moot case].”).

          The Coast Guard has offered to administer for all willing members doses of the

   BLA-approved Comirnaty (in Comirnaty-labeled vials). 11 Because Plaintiffs may

   receive Comirnaty to satisfy the military’s COVID-19 vaccination requirement, they

   “lack a legally cognizable interest” in the resolution of their statutory claim, which

   rests on a purported mandate to receive a vaccine authorized only under an EUA. See

   Fed. Trade Comm’n v. On Point Cap. Partners LLC, 17 F.4th 1066, 1078 (11th Cir. 2021)

   (citation omitted); accord Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013); see also Norris

   v. Stanley, 558 F. Supp. 3d 556, 559 (W.D. Mich. 2021) (no likelihood of success on

   EUA claim because it “would be moot” if offered the BLA-approved Pfizer vaccine);

   cf. Coal. for Mercury-Free Drugs v. Sebelius, 671 F.3d 1275, 1281-82 (D.C. Cir. 2012)



   11
     See Decl. of Captain Hans C. Govertsen ¶ 13; Decl. of Captain Nathan E. Coulter ¶¶ 12-13; Decl.
   of Captain Scott S. Phy ¶¶ 11-12; Decl. of Captain Michael P. Kahle ¶¶ 8, 11; Decl. of Captain
   Margaret E.C. Dean ¶¶ 11-12.

                                                  10
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 21 of 34 PageID 10407




   (Kavanaugh, J.) (explaining that availability of vaccines other than the ones to which

   plaintiffs objected eliminated plaintiffs’ standing). Accordingly, this Court’s resolution

   of Plaintiffs’ statutory claim would have no practical impact on Plaintiffs. See Prison

   Legal News v. FBI, 944 F.3d 868, 880 (10th Cir. 2019); accord Rau v. Moats, 772 F. App’x

   814, 817 (11th Cir. 2019). Nor is there any “meaningful relief” that the Court could

   grant to Plaintiffs based on this claim that they have not already been obtained from

   Defendants. See Soliman v. United States ex rel. INS, 296 F.3d 1237, 1242 (11th Cir. 2002)

   (citation omitted); accord Honig v. Students of Cal. Sch. for the Blind, 471 U.S. 148, 149

   (1985). Thus, Plaintiffs’ claim under 21 U.S.C. § 360bbb-3 and 10 U.S.C. §§ 1107,

   1107a is moot.

          B.     Neither 21 U.S.C. § 360bbb-3 nor 10 U.S.C. §§ 1107, 1107a waive the
                 United States’ sovereign immunity or provide Plaintiffs with a private
                 right of action.

          The federal government may only be sued where Congress has expressly waived

   its sovereign immunity. Fed. Deposit Ins. Corp. v. Meyer, 510 U.S. 471, 475 (1994).

   Absent such a waiver, district courts lack jurisdiction over the claim. Id.; Zelaya v.

   United States, 781 F.3d 1315, 1321–22 (11th Cir. 2015). Moreover, “private rights of

   action to enforce federal law must be created by Congress.” Alexander v. Sandoval, 532

   U.S. 275, 286 (2001), and “[t]here must be clear evidence of Congress’s intent to create

   a cause of action,” Love v. Delta Air Lines, 310 F.3d 1347, 1353 (11th Cir. 2002) (citation

   omitted). Where the necessary intent is absent, “a cause of action does not exist and

   courts may not create one.” Sandoval, 532 U.S. at 286–87.

          Plaintiffs purport to bring a claim under 21 U.S.C. § 360bbb-3 and 10 U.S.C.

                                               11
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 22 of 34 PageID 10408




   §§ 1107, 1107a. But none of these provisions waive the United States’ sovereign

   immunity—much less by express, unequivocal terms—or provide a private cause of

   action to challenge the federal government’s compliance with any statutory

   requirements. In fact, this Court has already held that 21 U.S.C. § 360bbb-3 “confers

   no private right of action” and “creates no ‘opportunity to sue the government[,]’”

   Navy SEAL 1 v. Biden, 574 F. Supp. 3d 1124, 1130 (M.D. Fla. 2021) (citation

   omitted), 12 and Plaintiffs offer no reason the Court should reach a different result here.

   After all, Congress reserved exclusive authority to enforce 21 U.S.C. § 360bbb-3 to the

   United States—not individual plaintiffs—with one exception for state enforcement. See

   21 U.S.C. § 337(a)-(b). And the express purpose of 10 U.S.C. Chapter 55 (within which

   §§ 1107 and 1107a reside) is to create a medical and dental-care program for service

   members—not to fashion a new judicial remedy. See 10 U.S.C. § 1071. Thus, the Court

   may dismiss Count I for this reason, as well. 13


           12
               Other courts have reached similar conclusions in resolving claims like the one Plaintiffs
   attempt to assert here. See, e.g., Doe v. Franklin Square Union Free Sch. Dist., 568 F. Supp. 3d 270, 292–
   93 (E.D.N.Y. 2021), appeal withdrawn, 2022 WL 1316221 (2d Cir. Mar.17, 2022); Bridges v. Hous.
   Methodist Hosp., 543 F. Supp. 3d 525, 527 (S.D. Tex. 2021), aff’d, 2022 WL 2116213 (5th Cir. June 13,
   2022); Garfield v. Middle Tenn. State Univ., No. 3:21-cv-00613, 2021 WL 5770877, at *3 (M.D. Tenn.
   Dec. 6, 2021) (citing Bailey v. Johnson, 48 F.3d 965, 968 (6th Cir. 1995); Loreto v. Proctor & Gamble Co.,
   515 F. App’x 576, 578-79 (6th Cir. 2013)); Donohue v. Hochul, No. 21-CV-8463, 2022 WL 673636, at
   *7 (S.D.N.Y. Mar. 7, 2022) (citing PDK Labs, Inc. v. Friedlander, 103 F.3d 1105, 1113 (2d Cir. 1997)),
   appeal filed, No. 22-517 (2d Cir. Mar. 11, 2022).
            13
               Notably, Plaintiffs do not assert this statutory claim under the Administrative Procedure Act
   (“APA”). Nor could they. Congress’s reservation of exclusive enforcement authority to the United
   States (with one exception for state enforcement), 21 U.S.C. § 337(a); see also Navy SEAL 1, 574 F.
   Supp. 3d at 1130; Guilfoyle v. Beutner, No. 2:21-cv-05009, 2021 WL 4594780, at *26–27 (C.D. Cal.
   Sept. 14, 2021), would preclude any attempt to assert a § 360bbb-3 claim under the APA. See 5 U.S.C.
   § 701(a)(1) (“[The APA] applies” except to the extent that a statute “preclude[s] judicial review.”); see
   also, e.g., Overton Power Dist. No 5 v. O’Leary, 73 F.3d 253, 257–58 (9th Cir. 1996). Moreover, actions
   taken under the authority of § 360bbb-3 are expressly committed to FDA’s discretion. 21 U.S.C.


                                                      12
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 23 of 34 PageID 10409




           C.      Plaintiffs have not plausibly alleged a violation of 21 U.S.C. § 360bbb-
                   3 or 10 U.S.C. §§ 1107, 1107a.

           Even setting aside these threshold defects, Plaintiffs do not plausibly allege a

   violation of 21 U.S.C. § 360bbb-3 or 10 U.S.C. §§ 1107, 1107a. Congress has given the

   Secretary of Defense and the Armed Services wide latitude to establish a vaccination

   program for the welfare and readiness of troops. See 10 U.S.C. §§ 113(b), 7013(b)(9),

   8013(b)(9), 9013(b)(9). Section 1107a 14 places a narrow condition on that authority by

   requiring a presidential “waiver” of a notification requirement when the military seeks

   to require service members to take products authorized only for “emergency use”

   without providing certain information. Id. § 1107a(a). Relatedly, the relevant

   provisions of § 360bbb-3 merely impose certain notice requirements for products

   authorized only for “emergency use.”

           But DoD’s vaccination directive does not implicate either of those statutory

   provisions because it does not require service members to take an EUA-authorized

   vaccine. See Sec’y of Def. Mem. (Aug. 24, 2021), https://perma.cc/N759-S758

   (“Mandatory vaccination against COVID-19 will only use COVID-19 vaccines that


   § 360bbb-3(i); Ass’n of Am. Physicians & Surgeons v. U.S. Food & Drug Admin., No. 20-1784, 2020 WL
   5745974, at *3 (6th Cir. Sept. 24, 2020). For that reason as well, a § 360bbb-3 claim would be
   unreviewable under the APA. 5 U.S.C. § 701(a)(2).
           14
              Plaintiffs’ reference to 10 U.S.C. § 1107(a) is inapplicable on its face, as that provision
   concerns “investigational new drug[s]” and “drug[s] unapproved for [their] applied use.” See also 21
   U.S.C. § 355(i) (defining investigational new drugs as those used in clinical trials); Doe v. Rumsfeld, 297
   F. Supp. 2d 119, 132 (D.D.C. 2003) (“Title 10 U.S.C. § 1107 and the attendant DoD regulation apply
   only if the FDA determines that [the vaccine] is an investigational drug or a drug unapproved for its
   present purpose.”). DoD’s directive does not implicate this provision, as none of the COVID-19
   vaccines for service members are provided as investigational new drugs in the context of clinical trials
   or drugs unapproved for their applied use, see ECF No. 23-14 ¶¶ 7, 7 n.2, and the FDA has made no
   determination that they are (nor have Plaintiffs alleged such a determination by the FDA).

                                                      13
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 24 of 34 PageID 10410




   receive full licensure . . . in accordance with FDA-approved labeling and guidance.”);

   Jones Decl. ¶ 4 (describing Coast Guard directives). And as discussed, Comirnaty, an

   FDA-licensed COVID-19 vaccine, is currently available to Plaintiffs. See supra pp.10-

   11. 15 Accordingly, Plaintiffs have no basis to claim that DoD is requiring them to take

   a vaccine authorized only for “emergency use.” Plaintiffs have therefore failed to state

   a claim for relief.

           And while DoD’s vaccine directive does not implicate § 1107a or § 360bbb-3, it

   is worth noting that a court recently rejected Plaintiffs’ understanding of what those

   statutory provisions require. See Miller v. Austin, No. 4:22-cv-01739 (S.D. Tex. June 1,

   2022), ECF No. 9. In Miller, as here, the plaintiff argued that 10 U.S.C. § 1107a and

   21 U.S.C. § 360bbb-3 “prohibit[] the military from requiring members to receive an

   EUA product” absent a presidential waiver under § 1107a. Id. at 1–2 (citation omitted).

   The court held, however, that federal law “only requires that [a service member] have

   been informed that he has a choice whether to get the vaccine or not and to be told of



           15
             Even if Plaintiffs had not been offered doses of Comirnaty, the FDA, in its contemporaneous
   reissuance of Pfizer’s EUA, determined that “[t]he licensed vaccine has the same formulation as the
   EUA-authorized vaccine and the products can be used interchangeably to provide the vaccination
   series without presenting any safety or effectiveness concerns.” ECF No. 23-14 at Ex. C at 2 n.8.
   DoD’s determination to “use doses distributed under the EUA to administer the vaccination series as
   if the doses were the licensed vaccine,” ECF No. 1-7, is thus consistent with § 1107a. See also Navy
   SEAL 1, 574 F. Supp. 3d at 1131 (finding that Plaintiffs failed to identify any factual or legal distinction
   “between Pfizer’s vaccine bearing the emergency label but produced in compliance with the FDA
   license and Pfizer’s ‘interchangeable’ vaccine bearing the Comirnaty label”); Valdez v. Grisham, 559 F.
   Supp. 3d 1161, 1171 (D.N.M. 2021) (rejecting claim that state vaccine mandate violated the EUA
   statute because “the FDA has now given its full approval – not just emergency use authorization – to
   the Pfizer vaccine”), aff’d, 2022 WL 2129071 (10th Cir. June 14, 2022); Johnson v. Brown, 567 F. Supp.
   3d 1230, 1247 (D. Or. 2021) (“The FDA approval on August 23, 2021 was for the physically, chemically,
   and biologically identical vaccine.”).


                                                       14
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 25 of 34 PageID 10411




   what consequences may follow if he decides to not get the vaccine.” Id. at 3. Where a

   plaintiff has been informed of that choice, and the consequences of refusing to

   vaccinate, neither § 1107a nor § 360bbb-3 had been violated. Id. Yet, no Plaintiff

   alleges that he or she has not been so informed. 16

           D.      The Court lacks jurisdiction over a challenge to the emergency
                   declaration or EUA.

           To the extent that Plaintiffs seek to challenge a COVID-19 vaccine’s EUA itself,

   that challenge could not proceed. Plaintiffs have not sued the FDA, so there is no

   proper defendant in this action for such a claim. And even if Plaintiffs had sued the

   FDA, actions taken under the authority of § 360bbb-3 are expressly committed to

   FDA’s discretion. See 21 U.S.C. § 360bbb-3(i); Ass’n of Am. Physicians & Surgeons, 2020

   WL 5745974, at *3 (holding that EUAs are unreviewable); see also 5 U.S.C. § 701(a)(2)

   (agency action is unreviewable under the APA when it “is committed to agency

   discretion by law”). Accordingly, the Court would lack jurisdiction to review any

   claim challenging the validity of an EUA. 17


           16
              Even assuming Plaintiffs could plausibly allege that DoD’s vaccination requirement violates
   any or all of these statutory provisions, Plaintiffs could not show that they would suffer an actual,
   concrete injury that is both causally connected to the violation and redressable by a favorable decision
   in this matter. See Corbett, 930 F.3d at 1232. Plaintiffs allege that it is their religious beliefs—not any
   licensing objections—that “preclude[s] them from complying” with an order to become vaccinated
   against COVID-19. See Compl. ¶ 48. And as this Court has already found, no Plaintiff claims that he
   or she “requested or was denied a Pfizer vaccine complying with the FDA license.” Navy SEAL 1, 574
   F. Supp. 3d at 1131. Indeed, Plaintiffs’ own conduct indicates that they are unwilling to take a
   COVID-19 vaccine whether it was produced under an EUA or is BLA-approved. See supra pp. 10-11.
           17
              In any event, both the Emergency Declaration and the EUAs are clearly proper under the
   statutory standards. The February and March 2020 public health emergency determinations satisfy
   the standards for an emergency declaration under 21 U.S.C. § 360bbb–3(b)(1)(C) because they find a
   “public health emergency” that affects “national security or the health and security of United States
   citizens living abroad” that involves a “biological” agent—the novel coronavirus—and a disease


                                                      15
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 26 of 34 PageID 10412




   II.    Plaintiffs’ RFRA and First Amendment Claims Are Not Ripe or
          Administratively Exhausted (Counts II and III).

          Plaintiffs additionally allege that DoD’s vaccination directive violates RFRA

   and the First Amendment because it “remov[es] brave servicemembers” who

   “requested accommodation of their sincerely held religious belief.” Compl. ¶ 22; see

   also id. ¶¶ 176–216. These claims should be dismissed because they are not ripe and

   Plaintiffs have not exhausted their administrative remedies.

          The ripeness doctrine examines “whether there is sufficient injury to meet

   Article III’s requirement of a case or controversy and, if so, whether the claim is

   sufficiently mature, and the issues sufficiently defined and concrete, to permit effective

   decisionmaking by the court.” Digital Props., Inc. v. City of Plantation, 121 F.3d 586, 589

   (11th Cir. 1997) (quoting Cheffer v. Reno, 55 F.3d 1517, 1524 (11th Cir. 1995)). “Even

   when    the constitutional minimum has been                  met,” moreover, “prudential

   considerations may still counsel judicial restraint.” Id. (quoting Action All. of Senior

   Citizens v. Heckler, 789 F.2d 931, 940 n.12 (D.C. Cir. 1986)) These concerns—present

   whenever a court is asked to intervene in a dispute with an agency—are at their apex

   where the military is involved. As the Eleventh Circuit has recognized, “respect for

   coordinate judicial systems and their autonomy . . . require[s] exhaustion in military

   cases.” Winck v. England, 327 F.3d 1296, 1302 (11th Cir. 2003), abrogated on other



   caused by the coronavirus—COVID-19. See Determination of Public Health Emergency, 85 Fed. Reg.
   7316, 7317 (Feb. 7, 2020); Emergency Use Authorization Declaration, 85 Fed. Reg. 18,250, 18,250–
   51 (Apr. 1, 2020). FDA has authorized three COVID-19 vaccines pursuant to EUAs, based on FDA’s
   review of extensive safety and efficacy data. See, e.g., ECF No. 23-14 at Exs. B, C; see also FDA,
   COVID-19 Vaccines (Oct. 29, 2021), https://perma.cc/5FWS-RJ5L.

                                                  16
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 27 of 34 PageID 10413




   grounds as recognized in Santiago-Lugo v. Warden, 785 F.3d 467 (11th Cir. 2015); see also,

   e.g., Von Hoffburg v. Alexander, 615 F.2d 633, 637 (5th Cir. 1980) (collecting cases);

   Hodges v. Callaway, 499 F.2d 417, 420 (5th Cir. 1974); Leicht v. McHugh, No. 13-60015,

   2013 WL 11971266, at *2 (S.D. Fla. May 24, 2013) (“The exhaustion doctrine should

   be strictly applied.”). Even when a plaintiff alleges “deprivation of a constitutional

   right” or “that the military has acted in violation of applicable statutes,” he still must

   “exhaust[] available intraservice corrective measures” before bringing suit in federal

   court. Mindes v. Seaman, 453 F.2d 197, 201 (5th Cir. 1971).

          Although most Plaintiffs’ requests for religious exemptions and appeals have

   been denied, their claims remain unripe and unexhausted because they have not been

   separated for declining vaccination and further military procedures remain available

   to them to pursue their arguments against vaccination. 18 As they acknowledge, they

   face potential separation, but the pleading does not allege that any Plaintiff has actually

   been ordered separated, or even that any Plaintiff has gone before a separation board

   or that any board has made any recommendation. See Compl. ¶¶ 25–29; see also Jones

   Decl. ¶¶ 39–42 (detailing the administrative separation process); Jones Decl. ¶ 43

   (describing court martial process and stating that no Coast Guard members have faced

   or are currently facing disciplinary action under the court martial process for refusal to



   18
     See Govertsen Decl. ¶ 14; Coulter Decl. ¶ 13; Decl. of Captain Jason B. Gunning ¶¶ 6-8; Phy Decl.
   ¶ 13; Kahle Decl. ¶¶ 11-12; Dean Decl. ¶ 12. Plaintiffs alleged that Lieutenant 2 is a male domiciled
   in Clearwater, Florida. Compl. ¶ 26. However, in Plaintiffs’ confidential disclosure of Plaintiffs’
   identities to Defendants’ counsel, Plaintiffs identified Lieutenant 2 as a female domiciled in Corpus
   Christi, Texas. Defendants have submitted declarations from the commanding officers of the
   Plaintiffs as identified in their confidential disclosure of identities.

                                                    17
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 28 of 34 PageID 10414




   get vaccinated). Numerous courts have found the absence of such allegations

   dispositive. In Roberts v. Roth, ---, F. Supp. 3d ---, 2022 WL 834148 (D.D.C. Mar. 21,

   2022), for instance, the court dismissed the plaintiff’s claims as unripe, even where his

   religious exemption appeal had been denied, he had been issued a Letter of Reprimand

   for remaining unvaccinated after the denial, and an administrative board had

   recommended his discharge. The court explained that the service “ha[d]not yet made

   a final determination on [the plaintiff’s] discharge,” and that even if the plaintiff were

   ultimately discharged, he would have “the opportunity to apply to the [] Board for the

   Correction of Military Records, which has broad authority to provide relief.” Id. at *3

   (citations omitted). With such procedures still available, the plaintiff’s “alleged injury

   [was] not certainly impending” and his challenge to the denial of his exemption was

   “not constitutionally ripe.” Id. at *4. Likewise, in Mark Short, the court concluded that

   a Marine Corps officer whose religious exemption appeal had been denied failed to

   exhaust administrative remedies because “he still must undergo separation

   proceedings before any permanent adverse consequences are imposed.” 2022 WL

   1051852, at *4. The officer would have the opportunity to submit a “written rebuttal”

   during separation proceedings, and four different individuals would consider his

   separation, “any one of which could decide to close the process” in the officer’s favor.

   Id. And the court rejected the argument that such administrative remedies would be

   futile, finding “no evidence, other than argumentative conjecture, that separation

   proceedings are always decided against the appealing servicemember.” Id. Other

   courts have concluded similarly. See, e.g., Knick, 2022 WL 2157066, at *3 (finding

                                              18
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 29 of 34 PageID 10415




   “significant questions regarding ripeness and administrative exhaustion, because no

   disciplinary action has been taken, let alone any appeal process thereof completed”);

   Church, 573 F. Supp. 3d at 137 (denying preliminary injunction for failure to exhaust

   where the service members whose appeals had been denied would still have “multiple

   opportunities to present their arguments to the Service and for the Service to respond”)

   (citation omitted); Thomas Short, 2022 WL 1203876, at *10 (denying preliminary

   injunction where, among other reasons, the member “will have an opportunity to

   renew and further develop his exemption request during future separation

   proceedings”); Vance, 2022 WL 1094665, at *7 (dismissing service member’s challenge

   to denial of religious accommodation request as unripe in part because “[n]o

   separation proceedings have been implemented”); cf. Frame v. United States, No. 4:09-

   CV-458, 2010 WL 883804, at *3 (N.D. Fla. Mar. 5, 2010) (concluding that “because

   Plaintiff’s application to have his discharge changed to an honorable discharge is still

   pending, this case is not ripe”). There is “no injustice in requiring [a member of the

   military] to submit to a system established by Congress and carefully designed to

   protect not only military interests but his legitimate interests as well.” Schlesinger v.

   Councilman, 420 U.S. 738, 759-60 (1975). Where “no tangible controversy exists”

   because there has been no “binding conclusive administrative decision,” courts have

   “no authority to act.” Digital Props., 121 F.3d at 590.

         Defendants recognize that this Court held at the preliminary injunction stage

   that Plaintiffs’ claims ripen at “the first moment an objecting service member must act

   contrary to a religious belief.” Navy SEAL 1, 574 F. Supp. 3d at 1143. Defendants

                                              19
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 30 of 34 PageID 10416




   respectfully disagree and preserve their position in this case. “[T]he naked recitation

   of a constitutional claim isn’t [a] sufficient [Article III injury]; if it were, every []

   plaintiff [asserting such claims] would, by definition, have standing to sue.” Gardner v.

   Mutz, 962 F.3d 1329, 1341 (11th Cir. 2020). As the decisions cited above demonstrate,

   the denial of a religious exemption request and appeal on its own does not ripen a

   controversy. The concrete injury to ripen a controversy is the imposition of adverse

   consequences for failing to receive the COVID-19 vaccine, and here Plaintiffs do not

   allege that those consequences have occurred. Nor has any Plaintiff been forced to act

   contrary to his or her religious belief, as “no government actor is preventing Plaintiff[s]

   from exercising [their] alleged religious conviction against COVID-19 vaccination.”

   Navy SEAL 1, 2022 WL 1294486, at *16; see also Thomas Short, 2022 WL 1203876, at

   *8.

           For these reasons, Plaintiffs’ claims should be dismissed as unripe and

   unexhausted. See Winck, 327 F.3d at 1302 (requiring exhaustion in military cases); Von

   Hoffburg, 615 F.2d at 637; Hodges, 499 F.2d at 420; Doe v. Ball, 725 F. Supp. 1210, 1215

   (M.D. Fla. 1989), aff’d sub nom. Doe v. Garrett, 903 F.2d 1455 (11th Cir. 1990) (requiring

   exhaustion of administrative remedies through the Board for Correction of Naval

   Records before bringing facial challenge to Navy’s HIV regulations). 19


   19
      To the extent Plaintiffs attempt to bring any claim (or seek relief) regarding duty assignments,
   trainings, deployments, promotions, and other such operational decisions, such claim and/or relief
   would encroach on core Article II prerogatives and is nonjusticiable. It is the Executive officials
   charged with protecting national security—not the courts—who have authority to make those sorts of
   professional military judgments. See, e.g., Orloff v. Willoughby, 345 U.S. 83, 93 (1953); Dep’t of Navy v.
   Egan, 484 U.S. 518, 530 (1988); Gilligan, 413 U.S. at 10; Navy SEALs 1-26, 142 S. Ct. at 1301; id. at
   1302 (Kavanaugh, J., concurring); Navy SEAL 1, No. 22-10645 (11th Cir. Mar. 30, 2022).

                                                      20
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 31 of 34 PageID 10417




   III.   Venue and Joinder of Plaintiffs’ Claims Is Improper.

          Finally, this Court is not the proper forum in which to adjudicate all of

   Plaintiffs’ claims. 28 U.S.C. § 1391(e) requires that actions against officers of the

   United States be brought in the district in which (1) “a defendant in the action resides,”

   (2) “a substantial part of the events or omissions giving rise to the claim occurred,” or

   (3) “the plaintiff resides.” Here, however, Defendants (sued in their official capacities)

   do not reside within the Middle District of Florida, as they perform their official duties

   at the Pentagon or in Washington, D.C. See, e.g., 14D Charles Alan Wright & Arthur

   R. Miller, Fed. Prac. & Proc. § 3815 (4th ed. 2022) (“[T]he relevant inquiry is the

   official residence.”); Smith v. Dalton, 927 F. Supp. 1, 6 (D.D.C. 1996); Webster v. Mattis,

   279 F. Supp. 3d 14, 19 (D.D.C. 2017); Vince v. Mabus, 956 F. Supp. 2d 83, 88 (D.D.C.

   2013). A substantial part of the events giving rise to Plaintiffs’ claims did not occur in

   the Middle District of Florida either, as the vaccination requirement they challenge

   (under RFRA, the First Amendment, and the EUA statute) issued out of Washington,

   D.C., and the final exemption decisions (for those Plaintiffs who have received one)

   were made at Coast Guard Headquarters in Washington, D.C. See Compl. ¶¶ 42-44;

   Jones Decl. ¶¶ 34-36.

          Although four Plaintiffs (Lieutenant 2 20, AET1, MST3, Senior Chief) allege

   domicile in the Middle District of Florida, Compl. ¶¶ 26-29, Plaintiffs Pilot and LCDR




   20
     Lieutenant 2 alleges domicile in Clearwater, Florida, Compl. ¶ 26, but Plaintiffs’ confidential
   disclosure of identities to Defendants’ counsel identifies Lieutenant 2’s domicile as Corpus Christi,
   Texas.

                                                     21
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 32 of 34 PageID 10418




   Pilot do not, id. ¶¶ 24-25. While Plaintiffs may argue that venue for one is sufficient to

   also join the claims of individuals without venue, that is not so in this case, which

   requires an individualized analysis both as to the alleged substantial burden placed on

   each Plaintiff’s religious beliefs, and to the Coast Guard’s compelling interest in

   requiring each Plaintiff’s vaccination and whether any less restrictive measure exists

   with respect to the circumstances of each Plaintiff. Because each Plaintiff claims to

   have their own personal belief, performs a different function within the Coast Guard,

   works in a different setting, and operates within a different chain of command, see

   Compl. ¶¶ 24-29, their claims “are not logically related because they do not arise from

   common operative facts.” Barber v. Am.’s Wholesale Lender, 289 F.R.D. 364, 367 (M.D.

   Fla. 2013); see also Wigand v. W. City Partners, Inc., No. 07-61492, 2008 WL 384394, at

   *1 (S.D. Fla. Feb. 11, 2008) (finding misjoinder, even when plaintiffs asserted the same

   claim based on a form contract, because the contracts were for “different units, on

   different dates, and for different prices”); Walters v. BMW of N. Am., No. 8:18-cv-02875,

   2019 WL 6251366, at *2 (M.D. Fla. Nov. 22, 2019) (same, for plaintiffs who brought

   the same types of claims arising out of their purchase of BMW vehicles, due to

   “substantial factual differences among the Plaintiffs’ claims”); Torres v. Bank of Am.,

   N.A., No. 8:17-cv-1534, 2017 WL 10398671, at *1–2 (M.D. Fla. Oct. 6, 2017) (same,

   where “the claims arise from different borrowers’ loans or loan-modification attempts

   and necessarily involve different sets of operative facts, even if the claims are pled

   similarly and present similar legal issues”).

         Defendants acknowledge that in Colonel Financial Management Officer v. Austin,

                                              22
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 33 of 34 PageID 10419




   No. 8:22-cv-01275, ECF No. 230, at 2-4, this Court held that Marine Corps service

   members’ claims were properly joined, and that venue was proper for plaintiffs outside

   the Middle District of Florida. Defendants respectfully disagree with that decision,

   reserve their position in this case, and urge this Court to follow the reasoning of

   another court in this district, which concluded regarding 15 service members’ attempt

   to bring RFRA, First Amendment, and “informed consent” claims against DoD’s

   directive despite “[o]nly one of the Plaintiffs ha[ving] anything to do with the Middle

   District of Florida,” that “the differences between their claims are too numerous to

   promote judicial economy.” Crosby v. Austin, No. 8:21-cv-02730, ECF No. 44 at 2–3

   (M.D. Fla. Feb. 22, 2022). The court found that “it is clear that resolution of many of

   these claims – such as the religious claims – would require a separate analysis and

   involve different proof and different witnesses, located in various places across the

   country.” Id. at 3. As such, the court found the claims misjoined, and severed and

   dismissed without prejudice the claims of all plaintiffs except for the only plaintiff with

   any connection to the Middle District of Florida. Id. at 3–4. This Court should follow

   a similar path here, to the extent it does not dismiss the claims entirely.

                                       CONCLUSION

          For these reasons, the Court should dismiss the Third Amended Complaint.

                        LOCAL RULE 3.01(g) CERTIFICATION

          On September 19 and 20, 2022, Defendants’ counsel conferred via email with

   Plaintiffs’ counsel, who represented that they oppose the relief sought in this motion.



                                               23
Case 8:22-cv-01278-SDM-TGW Document 202 Filed 09/20/22 Page 34 of 34 PageID 10420




   Dated: September 20, 2022              Respectfully submitted,

   BRIAN M. BOYNTON                       /s/ Amy E. Powell
   Principal Deputy Assistant Attorney    ANDREW E. CARMICHAEL
   General                                AMY E. POWELL
                                          Senior Trial Counsel
   ALEXANDER K. HAAS                      LIAM HOLLAND
   Director, Federal Programs Branch      JODY D. LOWENSTEIN
                                          JEREMY S.B. NEWMAN
   ANTHONY J. COPPOLINO                   CATHERINE M. YANG
   Deputy Director                        Trial Attorneys
                                          United States Department of Justice
                                          Civil Division, Federal Programs Branch
                                          1100 L Street, N.W.
                                          Washington, DC 20005
                                          Tel: 919-856-4013
                                          Email: amy.powell@usdoj.gov

                                          Counsel for Defendants




                                         24
